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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
                                                              :                  2/27/2019
 IN RE FOREIGN EXCHANGE BENCHMARK :
 RATES ANTITRUST LITIGATION                                   :    13 Civ. 7789 (LGS)
                                                              :
                                                              :           ORDER
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, by letter to Chambers dated February 14, 2019, the parties filed an updated

request seeking leave to file in redacted form or wholly under seal portions of the papers relating

to Plaintiffs’ Motion for Class Certification and Credit Suisse’s Daubert Motion to Exclude

Plaintiffs’ Proposed Expert Opinions. It is hereby

        ORDERED that the parties’ redaction and seal requests, listed in Appendix A to the

parties’ February 14, 2019, letter, are GRANTED. Although “[t]he common law right of public

access to judicial documents is firmly rooted in our nation’s history,” this right is not absolute, and

courts “must balance competing considerations against” the presumption of access. Lugosch v.

Pyramid Co. of Onondaga, 435 F.3d 110, 119–20 (2d Cir. 2006) (internal quotation marks

omitted); see also Nixon v. Warner Commc’ns., Inc., 435 U.S. 589, 599 (1978) (“[T]he decision as

to access is one best left to the sound discretion of the trial court, a discretion to be exercised in

light of the relevant facts and circumstances of the particular case.”). Filing the above-referenced

documents in redacted form or wholly under seal is necessary to prevent the unauthorized

dissemination of confidential business information, trade secrets and other sensitive information.



Dated: February 27, 2019
       New York, New York
